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                 4                                   UNITED STATES DISTRICT COURT
                 5                                           DISTRICT OF NEVADA
                 6                                                      ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:08-CR-332 JCM (GWF)
                 8                                              Plaintiff(s),                     ORDER
                 9                 v.
               10        DWIGHT RAMON POLLARD, et al.,
               11                                             Defendant(s).
               12
               13              Presently before the court is defendant Dwight Ramon Pollard’s motion to provide a
               14       transcript of a sealed plea agreement. (Doc. # 565).1 The government filed a response (doc. #
               15       566). Defendant did not file a reply and the deadline to do so has passed.
               16              On April 10, 2013, the court signed an order granting the government’s motion to unseal
               17       defendant Dwight Ramon Pollard’s plea agreement. (Doc. # 483). The plea agreement is no longer
               18       sealed and defendant may freely obtain a copy from CM/ECF at docket number 269.
               19              Accordingly,
               20              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Dwight
               21       Ramon Pollard’s motion to provide a transcript of a sealed plea agreement (doc. # 565) be, and the
               22       same hereby is, DENIED.
               23              DATED August 11, 2015.
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               25                                                      __________________________________________
                                                                       UNITED STATES DISTRICT JUDGE
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                                   Doc. # 565 provides a corrected image of the motion filed at doc. # 564.
James C. Mahan
U.S. District Judge
